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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                                             CASE No C 4:22-cv-2110-JST
Crystal Damato, et al.

                                 Plaintiff(s)
                                                             STIPULATION AND [PROPOSED]
 v.
                                                             ORDER SELECTING ADR PROCESS
Morphe LLC, et al.
                                 Defendant(s)

Counsel report that they have met and conferred regarding ADR and have reached the following
stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5. The parties agree to participate in the
following ADR process:
    Early Neutral Evaluation (ENE) (ADR L.R. 5)
   ■ Mediation (ADR L.R. 6)
   

    Early Settlement Conference with a Magistrate Judge (ADR L.R. 7)

    Private ADR (specify process and provider)


The parties agree to hold the ADR session by:
   ■ the presumptive deadline (90 days from the date of the order referring the case to ADR)
   

    other requested deadline:

 Date: July 5, 2022                                          /s/ Alex R. Straus
                                                             Attorney for Plaintiff
 Date: July 5, 2022                                          /s/ Rocky C. Tsai
                                                             Attorney for Defendant


 
  IT IS SO ORDERED.                                                                                                 
  IT IS SO ORDERED WITH THE FOLLOWING MODIFICATIONS:


 DATE: July 5, 2022
                                                             U.S. DISTRICT/MAGISTRATE JUDGE



 Important! E-file this form in ECF using the appropriate event among these choices: “Stipulation & Proposed Order
 Selecting Mediation” or “Stipulation & Proposed Order Selecting ENE” or “Stipulation & Proposed Order Selecting Early
 Settlement Conference with a Magistrate Judge” or “Stipulation & Proposed Order Selecting Private ADR.”
 Form ADR-Stip rev. 1-15-2019
